 AO 24SB (Rev. 11/16)   Judgment in a Criminal Case
                        Sheet 1




                                              United States District Court
                                                        District of Massachusetts
              UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE
                                     V.


                        WILLIAM GUILLEMETTE.                                          Case Number: 1: 18 CR 10340            - IT      - 2
                                                                                      USM Number: 01215-138

                                                                                       John F. Palmer
                                                                                      Defendant's Attorney
 THE DEFENDANT:

 0 pleaded guilty tocount(s)              ^
 • pleadednolo contendere to count(s)
   which was accepted by the court.
 • was found guilty on count(s)
   after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:

 Title & Section                    Nature of Offense                                                        Offense Ended          Count
21 U.S.C. § 846,                  Conspiracy to DistributeSuboxoneand Alprazolam                               02/15/18        1
21 U.S.C. § 841(a)(1)
21 U.S.C. § 841(B)(1)
  (E)

                                                                                  n

        The defendant is sentenced as provided in pages 2 through       ______ of this judgment. Thesentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
 • The defendant has beenfoundnot guiltyon count(s)
 • Count(s)                                             • is     • are dismissed on the motion ofthe United States.
          It is ordered thatthedefendant mustnotify theUnited States attorney forthisdistrict within 30 daysof anychange of name, residence,
 ormailing address until all fines, restitution, costs, and special assessments imposed bythis judgment arefully paid. Ifordered topayrestitution,
 the defendant must notify the courtand United Statesattorney of material changes in economic circumstances.
                                                                        7/18/2019
                                                                       Date of Impositionof Judgment




                                                                          nature of Judge

                                                                                      The Honorable Indira Talwani
                                                                                      U.S. District Judge
                                                                       Name and Title of Judge


                                                                              1
                                                                       Date
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                    Sheet 2 — Imprisonment
                                                                                                      Judgment — Page       of
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                                                              IMPRISONMENT

         The defendant is hereby committed to thecustody of the Federal Bureau of Prisons to be imprisoned for a total
term of:            18   month(s)
  The sentence shall run consecutively to the sentence the defendantIs currently serving in Massachusetts (Docket
  #0972CR8702).



    •    The court makes the following recommendations to the Bureauof Prisons:




    •    Thedefendant is remanded to thecustody of the United States Marshal.

    •    The defendant shall surrender to the United States Marshal for this district:

         •     at                                •     a.m.     •   p.m.     on
         •     as notified by the United States Marshal.

    •    Thedefendant shall surrender for service of sentence at theinstitution designated bythe Bureau of Prisons:
         •     before 2 p.m. on
         •     as notified by the United States Marshal.

         •     as notified by the Probation or Pretrial Services Office.


                                                                    RETURN

I have executed this judgment as follows:




           Defendant delivered on                                                         to


                                                     , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL




                                                                           By
                                                                                                 DEPUTY UNITED STATES MARSHAL
AO 24SB (Rev. 11/16) Judgment in a Criminal Case
                     Sheet3 — Supervised Release
                                                                                                          Judgment—^Paee   3   of
DEFENDANT: WILLIAM GUILLEMETTE,
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                                                         SUPERVISED RELEASE

Upon releasefrom imprisonment, you will be on supervisedrelease for a term of:                              3   year(s)




                                                     MANDATORY CONDITIONS

        You must not commit another federal, state or local crime.
        You must not unlawfully possess a controlled substance.
        Youmustrefrain from any unlawful use of a controlled substance. Youmustsubmit to one drug test within 15 daysof release from
        imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               • The above drug testingconditionis suspended, based on the court's determination that you
                   pose a low risk of future substance abuse, (check ifapplicable)
4.       0 You must cooperate in the collectionof DNA as directedby the probation officer, (check ifapplicable)
5.       • You must comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, e/seq.) as
            directed by theprobation officer, the Bureau of Prisons, or any statesex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense, (check ifapplicable)
         • You must participate in an approved program for domestic violence, (check ifapplicable)


You mustcomplywith the standardconditionsthat have been adopted by this court as well as with any other conditions on the attached
page.
AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet3A — Supervised Release
                                                                                              Judgment—Page                 of
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                                       STANDARD CONDITIONS OF SUPERVISION
As part ofyour supervised release, you must comply with the following standard conditions ofsupervision. These conditions are imposed
because they establish the basic expectations for your behavior while onsupervision and identify the minimum tools needed byprobation
officers to keep informed, report to thecourt about, andbring about improvements inyour conduct and condition.
1. You must report to the probation office inthe federal judicial district where you are authorized to reside within 72 hours ofyour
      release from imprisonment, unless the probation officer instructs you to report to a different probation officeor within a different time
      frame.
2.    After initially reporting to theprobation office, youwill receive instructions from the court or theprobation officer about how and
      when youmustreportto the probation officer, and youmust reportto theprobation officer as instructed.
3.    You must notknowingly leave the federal judicial district where you areauthorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    Youmustliveat a placeapproved by the probation officer. If youplanto change where you liveor anything about yourliving
      arrangements (such as the peopleyou livewith), you mustnotifythe probation officerat least 10 days beforethe change. If notifying
      theprobation officer in advance is not possible due to unanticipated circumstances, youmust notify the probation officer within 72
      hours of becoming aware of a change or expected change.
      You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervisionthat he or she observes in plain view.
      Youmustworkfull time (at least30 hoursper week)at a lawful type of employment, unless the probation officerexcuses you from
      doing so. If youdo not have full-time employment you musttry to find full-time employment, unless the probation officer excuses
      youfrom doing so. If you planto change where you workor anything about yourwork(such as yourposition or yourjob
      responsibilities), youmustnotify the probation officer at least 10daysbefore the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, youmustnotify the probation officer within 72 hours of
      becoming aware of a change or expected change.
      You must not communicate or interactwith someoneyou knowis engagedin criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact withthat person without firstgetting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer,you must notifythe probationofficerwithin 72 hours.
10.   Youmustnot own, possess,or have accessto a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything thatwas
      designed, or wasmodified for, the specific purpose of causing bodilyinjuryor death to anotherpersonsuch as nunchalms or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If theprobation officer determines thatyou posea riskto another person (including an organization), the probation officer may
      require you to notify the personabout the risk and you mustcomply withthat instruction. The probation officermaycontactthe
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructionsof the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S.probation officer has instructed me on the conditions specified by the courtand hasprovided me witha written copyof this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                   Date
AO 245B(Rcv.11/16)   Judgment in a Criminal Case
                     Sheet3D— Supervised Release
                                                                                          Judgment—^Page        of
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                                       SPECIAL CONDITIONS OF SUPERVISION


   1. You must participate in a program for substance abuse counseling as directed by the Probation Office, which program
   may include testing, not to exceed 104 drug tests per year to determine whetheryou have revertedto the use of alcohol or
   drugs.
   2. You are prohibited from drinking alcohol to the pointof intoxication, as defined by Massachusetts State Law as a .10
   blood alcohol level.
  3. You must participate in a mental health treatment program and/or an Anger Management Program, as directed by the
   Probation Office.
  4. You shall be required to contribute to the costs of evaluation, treatment, programming, and/or monitoring (see Special
  Condition # 1 &3), based on the ability to pay or availability of third-party payment.
AO245B (Rev. 11/16) Judgment in a Criminal Case
                    Sheet 5 — Criminal MonetaryPenalties
                                                                                                        Judgment — Page
DEFENDANT: WILLIAM GUILLEMETTE,
CASENUMBER:               1-      CR 10340          - IT        - 2
                                              CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties underthe schedule of payments on Sheet6.

                      Assessment                JVTA Assessment*                                              Restitution
TOTALS            $ 100.00



•    The determination of restitution is deferred until                    . An Amended Judgment in a Criminal Case(A024SC) will be entered
     after such determination.


D The defendant must make restitution (including community restitution) to the following payees in theamount listed below.

     If the defendant makes a partial payment, each payee shall receive anapproximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 LJ.S.C. § 3664(i), all nonfederal victims must bepaid
     before the United States is paid.

Name of Payee                                                        Total Loss**              Restitution Ordered          Priority or Percentage




 TOTALS                                                                                 0.00    $




 •     Restitution amount ordered pursuant toplea agreement $

 •     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 •     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       •   the interest requirement is waived for the       •       fine   •   restitution.

       •   the interest requirement for the     •    fine       •     restitution is modified as follows:

 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109A, 110, llOA, and 113AofTitle 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
AO 245B(Rev. 11/16)   Judgment in a CriminalCase
                      Sheet 6 — Schedule of Payments
                                                                                                             Judgment — Page             of
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                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties is due as follows:
A     0    Lump sum payment of$           100.00               due immediately, balance due

           •    not laterthan                                        , or
           •    in accordance with •         C,    •    D,    •       E, or    •    F below;or

B     •    Payment to begin immediately (may becombined with                  DC,       • D, or       • F below); or

C     D Payment inequal                            (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                          (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment; or

D     •    Payment inequal                         (e.g., weekly, monthly, quarterly) installments of $                         over aperiod of
                          (e.g., months or years),to commence                       (e.g., 30 or 60days) after release from imprisonment to a
           term of supervision; or

E     •    Payment during theterm of supervised release will commence within                   (e.g., 30or60days) after release from
           imprisonment. The court>vill set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F     •    Specialinstructions regardingthe paymentof criminal monetary penalties:




Unless the court has expressly ordered otherwise, ifthisjudgmentimposes imprisonment, payment ofcriminal monetary penalties isdue during
the period of imprisonment. All criminal monetary penalties, exceptthose payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive creditfor all payments previously made toward anycriminal monetary penalties imposed.



•     Joint and Several

      Defendant and Co-Defendant Namesand Case Numbers (including defendant number). Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




•     The defendantshall pay the cost of prosecution.

•     The defendant shall pay the following court cost(s):

•     The defendant shallforfeit the defendant's interest in the following property to the United States:



Payments shall be appliedin the following order: (1) assessment, (2) restitution principal, (3) restitutioninterest, (4) fineprincipal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and courtcosts.
